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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION


   PUES FAMILY TRUST IRA, MICHAEL
   PUES EXECUTOR

   v.

   PARNAS HOLDINGS, INC, LEV PARNAS                  Case No. 19-MC-80024 DMM

         Debtor.
                                     /

                       PLAINTIFF’S NOTICE OF WITHDRAWAL

         Judgment Creditor/Plaintiff PUES FAMILY TRUST IRA, by and through its

   undersigned counsel, hereby withdraws the Motion to Compel Production from Non-

   Party America’s First Action, Inc. (D.E. 28), as Non-Party has substantially complied

   with the subpoena after service of said motion.

         DATED on August 28, 2019

                              .             Respectfully submitted,

                                            ANDRE LAW FIRM P.A.
                                            Counsel for Plaintiff/Judgment Creditor
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                                            Aventura, FL 33180
                                            Tel. 786 708 0813
                                            Fax 786 513 8408

                                         By: /s/ Tony André
                                             Tony André, Esq.
                                             Florida Bar No.: 0040587
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                                                                       Case No. 19-MC-80024 DMM



                                   CERTIFICATE OF SERVICE

            I certify that on this 28th day of August 2019, I filed the foregoing with the Clerk of the
   Court and have served copies of this pleading via first class mail on the following parties, I also
   certify that I am admitted to the United States District Court for the Southern District of Florida:

          Chris Draper, Esq.
          Greenspoon Marder
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           Attorneys for America’s First Action, Inc.


                                                                /s/ Tony Andre
                                                 Tony Andre




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